          CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 1 of 11



                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

     C.H. ROBINSON WORLDWIDE, INC.,                 Civil No. 03-2978 (JRT/FLN)

                                   Plaintiff,

     v.                                            MEMORANDUM OPINION
                                                       AND ORDER
     GHIRARDELLI CHOCOLATE
     COMPANY,

                                 Defendant.




           Richard J. Nygaard and Steven M. Sitek, RIDER BENNETT, 33 South
           Sixth Street, Suite 4900, Minneapolis, MN 55402, for plaintiff.

           David A. Schooler, LARSON KING, 30 East Seventh Street, Suite 2800,
           St. Paul, MN 55101-4922, for defendant.


           C.H. Robinson Worldwide (“CHRW”) is a transportation and logistics company

headquartered in Eden Prairie, Minnesota. Ghirardelli Chocolate Company (“GCC”)

manufactures gourmet chocolate products in San Leandro, California. In May 2002,

GCC agreed to utilize CHRW for its transportation and logistics needs. The parties

continued to work together until May 30, 2003. The parties disagree as to whether a

written contract existed during this time. On April 29, 2003, CHRW filed suit seeking

equitable relief and over $4 million in damages based on GCC’s failure to pay for

services performed. GCC counterclaimed, also seeking damages in excess of $4 million.

CHRW moves for partial summary judgment and GCC moves for summary judgment on




12
    CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 2 of 11



all of CHRW’s claims. For the reasons discussed below, both motions are granted in part

and denied in part.


                                    BACKGROUND

       In 2001, CHRW agreed to conduct an independent transportation audit of GCC’s

transportation network. GCC provided CHRW with historical shipping information and

proprietary information on contracts with its current shipping providers. On December 6,

2001, CHRW presented its conclusions from the audit to GCC. CHRW recommended

that GCC hire CHRW to handle 100% of GCC’s transportation and logistics needs and

represented that GCC could save 10% on its shipping costs if GCC made significant

changes to its transportation network.

       In May 2002, GCC signed a Logistics Management Agreement (“LMA”) provided

by CHRW and sent it to CHRW. According to GCC, this contract covers the agreement

between the parties and includes a guarantee that GCC would obtain a 10% savings on its

shipping costs by using CHRW. GCC also alleges that CHRW verbally confirmed that

the contract guaranteed a one-time 10% savings.

       CHRW asserts, however, that the parties began conducting business on an

“operation level” in May 2002, but that a written contract was never finalized. According

to CHRW, the two parties were in the process of negotiating a contract and several

versions had been exchanged, but that the LMA that GCC sent back to CHRW contained

handwritten material changes that CHRW could not agree to. It is undisputed that

CHRW did not sign the contract and never sent a copy back to GCC. CHRW further

asserts that it notified GCC on several occasions that the signed LMA was unacceptable.

                                          -2-
     CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 3 of 11



CHRW also denies that it ever guaranteed GCC a 10% savings. Instead, CHRW asserts

that it represented that there was the potential for GCC to obtain an estimated 10%

savings if GCC made significant changes to its transportation network. CHRW asserts

that GCC failed to make these changes and that the parties never agreed on a baseline by

which to measure the savings.

       GCC, in contrast, alleges that after May 6, 2002 no further e-mails or draft

contracts were exchanged and that CHRW employees referenced the “contract” in

various correspondence and communications with GCC. According to GCC, it was not

until April 14, 2003 that CHRW told GCC the contract did not exist. On April 21, 2003,

GCC notified CHRW that it believed the LMA was a valid contract between the parties.

On April 29, 2003, CHRW filed suit alleging claims for account stated and unjust

enrichment.   On June 17, 2003, CHRW added a claim for quantum meruit.                 GCC

counterclaimed for unfair competition, fraud, misrepresentation, and declaratory

judgment. The unfair competition claim was dismissed pursuant to a motion by CHRW.

GCC then added counterclaims for breach of implied covenant of good faith and fair

dealing, negligent misrepresentation, and breach of implied contract.


                                        ANALYSIS

I.     STANDARD OF REVIEW

       Summary judgment is appropriate in the absence of any genuine issue of material

fact and when the moving party can demonstrate that it is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(c). A fact is material if it might affect the outcome of the suit,

and a dispute is genuine if the evidence is such that it could cause a reasonable jury to

                                            -3-
      CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 4 of 11



return a verdict for either party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986). A court considering a motion for summary judgment must view all of the facts in

the light most favorable to the non-moving party and give that party the benefit of all

reasonable inferences that can be drawn from the facts. Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587 (1986).


II.    GCC’s MOTION FOR SUMMARY JUDGMENT

       A.     CHRW’s Quasi-Contractual Claims

       GCC requests that the Court find that an express, written contract, specifically the

May 6, 2002 Logistics Management Agreement, exists between the parties and, therefore,

dismiss CHRW’s quasi-contractual claims. GCC asserts that it was required to sign the

LMA that CHRW provided in order for GCC to hire CHRW to handle its transportation

needs and that once it signed the LMA and sent it back to CHRW, the contract was

binding on both parties.

       CHRW argues that because GCC made changes to material terms in the LMA

before it sent it back to CHRW, GCC did not accept CHRW’s offer, but instead made a

counteroffer. CHRW asserts that it repeatedly told GCC there was not a contract and that

both parties agreed to continue their relationship while working on finalizing a contract.

CHRW further argues that the contract cannot be considered final because it did not

include a baseline to calculate GCC’s savings. In response, GCC asserts that CHRW

cannot produce any e-mails or letters that state that the LMA was objectionable to

CHRW and that the parties’ subsequent conduct executing the contract shows that there,




                                           -4-
     CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 5 of 11



in fact, was a contract. GCC also argues that agreeing to a baseline to calculate the 10%

savi ngs was not a condition precedent to the formation of a contract.

       The central factual issue in this case is whether a contract existed between the

parties. Genuine issues of material fact exist with respect to the relationship between the

parties when CHRW sent the LMA to GCC, the significance of the changes GCC made

to the LMA, whether determining a baseline to calculate the 10% savings was a condition

precedent to forming a contract, and the extent of the parties’ communication about the

contract after May 6, 2002. As such, the Court denies GCC’s request that the Court find

that an express contact existed and denies GCC’s motion to dismiss all of CHRW’s

quasi-contractual claims.


       B.     CHRW’s Damages Claim

       GCC asserts that CHRW’s damages claim should be dismissed as a matter of law

because 1) CHRW intends to rely on rate schedules that were attached to the contract

which CHRW argues is invalid; 2) CHRW’s “complex damages evidence” requires

expert testimony to establish the reasonable value of the services; and 3) CHRW intends

to call fact witnesses to prove its case without offering any original invoices or original

documentation. The Court disagrees.

       As to the rate schedules, CHRW asserts that the rates schedules were agreed upon

by the parties and form a contract in and of themselves. This is a factual issue for a jury

to decide. If a jury finds that the rate schedules are a valid contract, certainly CHRW can

rely on them as evidence of damages. Even if a jury finds that the rate schedules are

neither part of a valid contract, nor a valid contract in and of themselves, however, a

                                            -5-
    CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 6 of 11



reasonable jury could still find that the rate schedules are reliable evidence of the

reasonable value of the services CHRW provided GCC. Furthermore, the Court finds

that GCC’s argument that CHRW must use outside experts to testify to the disputed

invoices is without merit. CHRW intends to use the testimony of two of its employees to

rebut GCC’s experts.     These employees have firsthand knowledge of the disputed

invoices and the services CHRW allegedly performed for GCC and are, therefore,

qualified to testify. In addition, pursuant to Federal Rule of Evidence 1006, CHRW can

produce summaries of voluminous records. In this case, the parties dispute payment on

over 5,000 invoices. CHRW also has thousands of supporting documents. Certainly this

many documents cannot be presented during trial. The original documents have been

made available to GCC and it can, if it so chooses, dispute CHRW’s summaries and/or

testimony at trial. Accordingly, the Court denies GCC’s motion for summary judgment

on CHRW’s damages claims.


      C.     CHRW’s Claim for Account Stated

      “An account stated is a stated sum which the debtor has agreed to be an accurate

computation of the amount due to the creditor.” Spalla v. Navarre Corp., 2002 WL

1949750, at *3 (D. Minn. Aug. 20, 2002). GCC has not agreed to a stated sum that is

outstanding in this case. As discussed above, the unpaid invoices are in dispute in this

case and CHRW will have the burden of proof as to its damages under it claims for unjust

enrichment and quantum meruit.      Accordingly, the Court grants GCC’s motion for

summary judgment with respect to CHRW’s account stated claim.




                                          -6-
       CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 7 of 11



III.    CHRW’S MOTION FOR PARTIAL SUMMARY JUDGMENT

        A.    GCC’s Fraud Claims

        GCC alleges that CHRW fraudulently misrepresented that 1) it performed a

network analysis of GCC’s needs; 2) GCC could save money by reducing its warehouses

from four to two; 3) it would be in GCC’s best interest to locate its East Coast warehouse

in Memphis; and 4) CHRW would guarantee a 10% savings if GCC entered into a

contract with CHRW. GCC also alleges that CHRW fraudulently withheld its intention

to deny the existence of the contract even while performing under the terms of the alleged

contract.

        CHRW argues that because GCC’s tort claims are based on the allegation that

CHRW failed to perform under the contract, they should be dismissed because

“Minnesota law does not recognize an independent tort for conduct that merely

constitutes a breach of contact.” UFE Inc. v. Methode Elec., Inc., 808 F. Supp. 1407,

1410 (D. Minn. 1992). Although the Court agrees with this statement of the law, only

GCC’s allegation that CHRW fraudulently withheld its intention to deny the existence of

the contract is based on the same conduct underlying CHRW’s alleged breach. Id.

        GCC’s remaining fraud allegations are based on conduct that occurred prior to the

parties entering into an agreement.        Essentially, GCC asserts that in CHRW’s

December 6, 2001 presentation CHRW fraudulently represented that it had conducted a

network analysis of GCC’s shipping needs and that the results of that analysis were that

GCC should operate two warehouses, one in California and one in Memphis, and that if

GCC entered into a contract with CHRW it would guarantee that GCC would save 10%


                                           -7-
    CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 8 of 11



on its shipping costs. CHRW denies all of these allegations. As all of these issues

present genuine questions of material fact, they are not appropriate for summary

judgment. Therefore, the Court grants CHRW’s motion for summary judgment with

respect to GCC’s claim that CHRW fraudulently withheld its intent to deny the contract,

but denies CHRW’s motion with respect to GCC’s remaining fraud claims.


       B.     GCC’s Negligent Misrepresentation Claim

       CHRW asserts that because CHRW and GCC are commercial parties who

negotiated a deal at arms length, CHRW did not owe GCC a duty and, therefore, GCC’s

negligent misrepresentation claim fails as a matter of law. As support for its argument,

CHRW relies on Meshbesher & Spence, Ltd. v. Sprint Spectrum, LP, which states that

“[w]hen sophisticated parties negotiate at arm’s length and neither party is in the role of

providing information as guidance to the other party . . . no duty attaches for the purposes

of a negligent misrepresentation claim.” 2004 WL 2801590, at *5 (D. Minn. 2004).

GCC asserts that CHRW was acting as a business consultant when it made its

presentation on December 6, 2001 and, therefore, CHRW was “in the role of providing

information as guidance to the other party.” Id. CHRW, on the other hand, argues that it

was merely a service provider that made a sales presentation to GCC.

       The basis and scope of the parties’ relationship prior to entering their agreement in

May 2002 is a factual question. A reasonable jury could find that CHRW was acting as a

consultant when it made its presentation and, therefore, assumed a duty towards GCC.

As such, the Court denies CHRW’s motion for summary judgment with respect to GCC’s

negligent misrepresentation claim.

                                           -8-
    CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 9 of 11




       C.     GCC’s Breach of Contract Claim

       CHRW asserts that GCC’s breach of contract claim, which seeks a 10% reduction

in freight costs over GCC’s costs per pound shipped in 2001, should be dismissed

because it is undisputed that the parties never agreed on a baseline to measure the

savings. As discussed supra, GCC asserts that the LMA is a valid written contract, that it

includes language guaranteeing GCC a 10% savings, and determining a baseline for

calculating the 10% savings was not a condition precedent to the formulation of the

contract. These are factual issues central to this dispute and are not appropriate for

summary judgment.      Accordingly, the Court denies CHRW’s motion for summary

judgment on GCC’s breach of contract claim.


       D.     GCC’s Declaratory Relief Claim

       GCC seeks a declaratory judgment of 10% savings over its 2001 shipping costs.

CHRW argues that GCC is not entitled to a declaratory judgment because no baseline to

calculate such savings was ever determined and the contract does not contain a remedy

for the alleged failure to achieve the savings. As stated supra, genuine issues of material

fact exist as to whether CHRW guaranteed a 10% savings and whether the parties needed

to agree to a baseline in order for GCC to enforce the alleged guarantee. As such, the

Court is not in the position to grant GCC a declaratory judgment. Therefore, the Court

grants CHRW’s motion for summary judgment on GCC’s claim for declaratory relief.




                                           -9-
      CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 10 of 11



IV.     CHOICE OF LAW

        CHRW argues that the Court should apply Minnesota law and GCC argues that

the Court should apply Minnesota and California law. Minnesota is the forum state, the

parties chose Minnesota law in the contract, and it is undisputed that the elements of

GCC’s tort claims are the same in Minnesota and California. Therefore, the Court will

apply Minnesota law. Davis by Davis v. Outboard Marine Corp., 415 N.W. 2d 719, 723

(Minn. Ct. App. 1987) (stating that when “there is no significant distinction between the

two jurisdictions’ laws,” the law of the forum state applies).


                                         ORDER

        Based on the foregoing, all the records, files, and proceedings herein, IT IS

HEREBY ORDERED that Ghirardelli Chocolate Company’s Motion for Summary

Judgment [Docket No. 163] is GRANTED IN PART and DENIED IN PART as

follows:

        1.        Ghirardelli Chocolate Company’s motion is granted with respect to C.H.

Robinson Worldwide, Inc.’s claim for account stated.

        2.        Ghirardelli Chocolate Company’s motion is denied in all other respects.

        IT IS FURTHER ORDERED that C.H. Robinson Worldwide, Inc.’s Motion for

Partial Summary Judgment [Docket No. 160] is GRANTED IN PART and DENIED

IN PART as follows:

             1.   C.H. Robinson Worldwide, Inc.’s motion is granted with respect to

Ghirardelli Chocolate Company’s claim for declaratory judgment and Ghirardelli




                                           - 10 -
    CASE 0:03-cv-02978-JRT-FLN Document 206 Filed 07/01/05 Page 11 of 11



Chocolate Company’s claim that C.H. Robinson Worldwide, Inc. fraudulently withheld

its intent to deny the contract existed.

          2.     C.H. Robinson Worldwide, Inc.’s motion is denied in all other respects.



DATED: July 1, 2005                                   s/ John R. Tunheim         _
at Minneapolis, Minnesota.                            JOHN R. TUNHEIM
                                                    United States District Judge




                                           - 11 -
